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                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

            In re:                                                 § Chapter 11
                                                                   §
            ZENERGY BRANDS, INC., et al.,1                         § Case No. 19-42886
                                                                   §
                          Debtors.                                 § (Jointly Administered)


                                NOTICE OF ENTRY OF CONFIRMATION ORDER

                PLEASE TAKE NOTICE that on January 20, 2021, the United States Bankruptcy Court
        for the Eastern District of Texas, Sherman Division (the “Court”) entered the Findings of Fact,
        Conclusions of Law, and Order Granting Final Approval of Disclosure Statement and Confirming
        Debtors’ Plan of Liquidation [Dkt. No. 368] (the “Confirmation Order”) approving the Debtors’
        Disclosure Statement Pursuant to Section 1125 of the Bankruptcy Code with Respect to the
        Debtors’ Chapter 11 Plan of Liquidation [Dkt. No. 315] (the “Disclosure Statement”) and
        confirming the Debtors’ Plan of Liquidation [Dkt. No. 311] (the “Plan”).2

                PLEASE TAKE FURTHER NOTICE that the confirmed Plan sets February 19, 2021
        as the Administrative Claim Bar Date. All motions or applications for payment of Administrative
        Claims—except Professional Fee Claims and Claims otherwise barred by an order of the Court—
        must be filed with the Court on or before the Administrative Claim Bar Date. Administrative
        Claims are Claims for payment of an administrative expense of a kind specified in §§ 503(b),
        507(b), and 1114(e)(2) of the Bankruptcy Code and referred to in § 507(a)(2) of the Bankruptcy
        Code, including, without limitation, the actual, necessary costs and expenses incurred on or after
        the Petition Date for preserving the Estate of the Debtors, any actual and necessary costs and
        expenses of operating the business of the Debtors incurred on or after the Petition Date but prior
        to the Effective Date, any indebtedness or obligations incurred or assumed by the Estate in
        connection with the conduct of the Debtors’ business on or after the Petition Date and prior to the
        Effective Date, all fees and charges assessed against the Estate under Chapter 123, Title 28, United
        States Code, and any Claim granted administrative-expense priority status by Final Order.

                PLEASE TAKE FURTHER NOTICE that, pursuant to the Confirmation Order, all of
        the Debtors’ executory contracts and unexpired leases are rejected by the Debtors as of the
        Effective Date, except for any executory contract or unexpired lease: (i) which previously has been
        assumed or rejected pursuant to an order of the Court entered prior to the Effective Date; (ii) as to

        1
          The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s
        federal tax identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899);
        Zenergy Labs, LLC (8045); Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy
        & Associates, Inc. (4022); and Zen Technologies, Inc. (7309). The above-captioned Debtors’ mailing
        address is 5700 Granite Pkwy, #200, Plano, TX 75024.
        2
         Capitalized terms that are undefined herein shall have the definitions provided in the Plan unless otherwise
        noted.


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        which a motion for approval of the assumption or rejection of such executory contract or unexpired
        lease has been filed and served prior to the Effective Date; (iii) which is listed on the Assumption
        List filed with the Plan Supplement [Dkt. No. 331]; (iv) any guaranty or similar agreement
        executed by a third party which guarantees repayment or performance of an obligation owed to the
        Debtors or to indemnify the Debtors; and (v) agreements with third parties regarding preservation
        of the confidentiality of documents produced by the Debtors.

                PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these chapter
        11 cases are available free of charge by visiting https://cases.stretto.com/zenergybrands/court-
        docket/. You may also obtain copies of any pleadings by visiting the Court’s website at
        https://www.txeb.uscourts.gov/ in accordance with the procedures and fees set forth therein.



           Dated: January 21, 2021                     Respectfully Submitted,


                                                       /s/ Jack G. Haake
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                                                       -and-

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                                                       Counsel for the Debtors and Debtors in Possession




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                                        CERTIFICATE OF SERVICE

                I certify that on January 21, 2021, I caused a copy of the foregoing document to be served
        by the Electronic Case Filing System for the United States Bankruptcy Court for the Eastern
        District of Texas.

                                                     /s/ Jack G. Haake
                                                     Jack G. Haake




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